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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                SOUTH BEND DIVISION


GEORGE MILLER,                   )
                                 )
          Plaintiff,             )
                                 )                           Case No.
     v.                          )
                                 )
UNITED STATES OF AMERICA         )
                                 )
And                              )
                                 )
BRYAN’S LANDSCAPE MANAGEMENT LLC )
                                 )
          Defendants.            )


                                         COMPLAINT

       NOW COMES Plaintiff, George Miller, by counsel, for his Complaint against the

Defendants, The United States of America and Bryan’s Landscape Management LLC, and states

as follows:

                                       INTRODUCTION

       1.      This is an action for personal injury arising under the Federal Tort Claims Act, 28

U.S.C.A. §§ 2671 et seq.

                                            PARTIES

       2.      Plaintiff, George Miller, is a citizen of Indiana residing at 211 Compton Street,

New Carlisle, IN 46552.

       3.      Defendant The United States of America (“United States”) is presently, and was

at all times pertinent, the owner and operator of the United States Post Office-New Carlisle,

located at 121 E. Chestnut, New Carlisle, Indiana (“the New Carlisle Post Office”).
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       4.      Defendant, Bryan’s Landscape Management LLC, is an LLC with its principal

place of business located at 9184 N. 900 E, New Carlisle, Indiana 46552.



            JURISDICTION/EXHAUSTION OF ADMINISTRATIVE REMEDY



       5.      The jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1346(b) and 28

U.S.C. § 1332(a). The present action involves a claim against the United States. The amount in

controversy exceeds, exclusive of interest and costs, the sum of $75,000.00. There is complete

diversity of citizenship between the Plaintiff and Defendants.

       6.      Plaintiff, George Miller, has exhausted his administrative remedies and filed this

Complaint timely.

               (a) On February 7, 2019, Miller sent by mail a Federal Notice of Tort Claim to

                    the United States Postal Service via Standard Form 95.

               (b) On January 20, 2020, Miller, by counsel, sent an additional Federal Notice of

                    Tort Claim to the United States Post Service via Standard Form 95.

               (c) The United States Postal Service acknowledged receipt of the Standard

                    Form 95 via letter dated March 11, 2020.

               (d) The Post Office issued a denial of the claim by letter dated on October 22,

                    2020.

               (e) In accord with the Postal Service’s letter dated October 22, 2020, Miller now

                    files this Complaint within six months of the final denial of his claim.




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                                               VENUE

       7.      Venue is proper in the United States District Court for the Northern District of

Indiana under 28 U.S.C. § 1391 because the personal injury occurred in St. Joseph County,

Indiana.



                                               FACTS

       8.      The United States as owner/operator of the New Carlisle Post Office located at

121 E. Chestnut, New Carlisle, Indiana.

       9.      Bryan’s Landscape Management LLC was a private contractor contracted to

monitor and treat sidewalks and surrounding areas of the New Carlisle Post Office.

       10.     On January 22, 2019, Miller was a business invitee at the New Carlisle Post

Office when he slipped on ice on the sidewalk in front of the business, fell, and sustained injuries

                                            COUNT I:

                     NEGLIGENCE AGAINST THE UNITED STATES

       11.     Plaintiff, George Miller, incorporates by reference herein the preceding

paragraphs of this Complaint.

       12.     At all times relevant hereto, Defendant, the United States, had a duty to

administer, clean, supervise, manage, maintain, repair, replace, inspect, operate, safeguard,

and/or control the New Carlisle Post Office.

       13.     Defendant, the United States, and its agents and/or employees, were under a legal

duty to keep the New Carlisle Post Office free and clear of hazardous conditions, including snow

and ice, and to maintain the grounds in a safe condition.

       14.     Defendant, the United States, and its agents and/or employees, and representatives

failed to maintain the premises and/or warn Miller of the danger.

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       15.     Miller’s injuries and damages were the proximate result of the carelessness and

negligence of the agents and/or employees of the United States by failing to keep the area free

from dangerous and hazardous conditions, including slipping hazards.

       16.     As a direct and proximate result of the carelessness and negligence of the

Defendant, the United States, Miller sustained personal injuries, the effects of which may be

permanent and lasting; has incurred hospital, doctor and medical expenses and may continue to

incur hospital, doctor and medical expenses in the future; has incurred pain and suffering and

may continue to incur pain and suffering in the future, all of which damages are in an amount yet

uncertain.

       WHEREFORE, Plaintiff, George Miller, demands judgment against the Defendant,

United States of America, in an amount that will reasonably compensate him for the injuries and

damages sustained, for the costs of this action and for all other just and proper relief.

                                            COUNT II:

        NEGLIGENCE AGAINST BRYAN’S LANDSCAPE MANAGEMENT LLC

       17.     Plaintiff, George Miller, incorporates by reference herein the preceding

paragraphs of this Complaint.

       18.     The sidewalks and area around the New Carlisle Post Office were also checked

and monitored by Defendant, Bryan’s Landscape Management LLC and documentation was

completed by the owner of Bryan’s Landscape Management LLC, Bryan Talley.

       19.     Miller’s injuries and damages were the proximate result of the carelessness and

negligence of agents and/or employees of Defendant, Bryan’s Landscape Management LLC, by

among other acts of omissions, failing to keep the area free from dangerous or hazardous

conditions, including slipping hazards.



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       20.     As a direct and proximate result of the carelessness and negligence of the

Defendant, Bryan’s Landscape Management LLC, Miller sustained personal injuries, the effects

of which may be permanent and lasting; has incurred hospital, doctor and medical expenses and

may continue to incur hospital, doctor and medical expenses in the future; has incurred pain and

suffering and may continue to incur pain and suffering in the future, all of which damages are in

an amount yet uncertain.

       WHEREFORE, Plaintiff, George Miller, demands judgment against the Defendant,

Bryan’s Landscape Managemen LLC, in an amount that will reasonably compensate him for the

injuries and damages sustained, for the costs of this action and for all other just and proper relief.



                                               Respectfully submitted:



                                               /s/ Daniel H. Pfeifer
                                               Daniel H. Pfeifer (5720-71)
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